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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                            ORLANDO DIVISION

DIAMOND RESORTS U.S. COLLECTION
DEVELOPMENT, LLC, and DIAMOND RESORTS
HAWAII COLLECTION DEVELOPMENT, LLC,

      Plaintiffs,

vs.                                             Case No.: 6:21-cv-00973-RBD-DCI

PRIMO MANAGEMENT GROUP, INC.,
ISRAEL SANCHEZ, JR.,

     Defendants.
________________________________________/

                    UNOPPOSED MOTION FOR SPECIAL ADMISSION

      Matthew S. Rapkowski, Esquire, of Greenspoon Marder LLP, 590 Madison

Avenue, Suite 1800, New York, New York 10022 (“Movant”), pursuant to Local

Rule 2.01(c), respectfully moves for special admission to appear pro hac vice in the

above entitled action, and any related proceeding, as counsel for Plaintiffs, Diamond

Resorts U.S. Collection Development, LLC and Diamond Resorts Hawaii Collection

Development, LLC (collectively, “Diamond”), and states and certifies as follows:

      1.     Diamond has retained Greenspoon Marder LLP to represent it as

counsel in this action.

      2.     Movant is neither a Florida resident nor a member in good standing of

The Florida Bar.
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      3.     Movant is an active member in good standing of the bar in the State of

New York. I am also admitted to, and in good standing with the United States

District Court for the Eastern District of New York.

      4.     Movant has not abused the privilege of special admission by

maintaining a regular law practice in Florida. I have not appeared in any cases in

Florida state or federal court in the last thirty-six months.

      5.     Movant designates Richard W. Epstein, a resident Florida attorney of

the law firm Greenspoon Marder LLP, 200 E. Broward Blvd., Suite 1800, Fort.

Lauderdale, Florida 33301, who is admitted to practice in this Court and who

consents to the designation as local counsel.

      6.     Movant will comply with the federal rules and this Court’s local rules.

Movant certifies further that he will make himself familiar with and shall be

governed by the Local Rules of this Court, the rules of professional conduct, and all

other requirements governing the United States District Court for the Middle District

of Florida and the Orlando Division of the United States District Court.

      7.     Movant is familiar with 28 U.S.C. § 1927, which provides:

      Any attorney or other person admitted to conduct cases in any court of
      the United States or any Territory thereof who so multiplies the
      proceedings in any case unreasonably and vexatiously may be required
      by the court to satisfy personally the excess costs, expenses, and
      attorneys’ fees reasonably incurred because of such conduct.
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      8.     Movant has paid the fee for special admission or will pay the fee upon

special admission.

      9.     Movant will register with the Court’s CM/ECF system upon special

admission.

      10.    I affirm the oath, which states:

      I will support the Constitution of the United States. I will bear true faith
      and allegiance to the government of the United States. I will maintain
      the respect due to the courts of justice and all judicial officers. I will
      well and faithfully discharge my duties as an attorney and officer of this
      Court. I will conduct myself uprightly and according to the law and the
      recognized standards of ethics of the legal profession.

                         Local Rule 3.01(g) Certification

      Movant conferred with counsel for the opposing parties and represents that

counsel for the opposing parties is not opposed to my special admission.



Dated: January 18, 2022.                GREENSPOON MARDER LLP

                                        By: /s/ Richard Epstein
                                        Richard W. Epstein (FBN 229091)
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                                        By: /s/ Matthew S. Rapkowski
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                                        Counsel for Plaintiffs

                         CERTIFICATE OF SERVICE

      I hereby certify that, on January 18, 2022, a copy of the foregoing document

was filed electronically on the Court’s CM/ECF system. Notice of this filing will be

sent by operation of the Court’s electronic filing system to all parties who have

entered an appearance in this matter.


                                              /s/ Richard W. Epstein
                                              Richard W. Epstein
